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                          IN THE UNITED STATES DISTRICT COURT FOR
                              THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 DEMARCUS GENE HUBERT                             §
                                                  §
                           Plaintiff,             §
                                                  §
                                                  §
 vs.                                              §   CIVIL ACTION NO.: 4:24-cv-02138
                                                  §
 WILLIAMS BROTHERS                                §
 CONSTRUCTION CO., INC.                           §
                                                  §
                         Defendant.               §


   DEFENDANT WILLIAMS BROTHERS CONSTRUCTION CO. INC.’S NOTICE OF
          OBJECTION TO PLAINTIFF DEMARCUS GENE HUBERT’S
         NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Williams Brothers Construction Co., Inc., hereinafter referred to as the

“Defendant”, and respectfully files and submits to this Honorable Court with respect to the above-

referenced and numbered cause this its Notice of Objection to Plaintiff Demarcus Gene Hubert’s

Notice of Voluntary Dismissal Without Prejudice, as follows:

         1.         At 1:35 p.m. on Friday, October 4, 2024, The Plaintiff Demarcus Gene Hubert,

hereinafter referred to as the “Plaintiff”, served a pleading upon the undersigned counsel for the

Defendant which he entitled as his Notice of Voluntary Dismissal Without Prejudice. Attached

hereto and incorporated herein as though fully set forth at length as Exhibit “A”. At this juncture

and after examining this Honorable Court’s Docket Report, it does not appear as though the

Plaintiff has filed the foregoing pleading, but the Defendant was cognizant of the fact that the

Plaintiff has previously effected filing manually. Notably, the Plaintiff cites to and relies upon Fed.

R. Civ. P. 41(a) (1) (A) (i) which essentially states that the Plaintiff is only empowered to



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unilaterally dismiss his Complaint in the event that neither an “answer or a motion for summary

judgment” has been filed by the opposing party. In the above-referenced and numbered cause, the

Defendant filed its Answer on June 18, 2024. As a consequence, the Plaintiff must seek a

“stipulation of dismissal” signed on behalf of the Defendant pursuant to the provisions of Fed. R.

Civ. P. 41(a) (1) (A) (ii) in order to achieve the dismissal of the above-referenced and numbered

cause absent “a court order”. The Defendant, therefore, provides its Notice to this Honorable Court

of its Objection to the Plaintiff’s attempt to obtain a voluntary dismissal of his Complaint without

prejudice to its future re-filing.

         2.         The Defendant is most assuredly in favor of the Plaintiff’s voluntary dismissal of

his Complaint, but only in the event that such dismissal was with prejudice. The Defendant has

incurred expense as a consequence of the Plaintiff’s initiation of the above-referenced and

numbered cause and does not wish to expose itself to the possibility of the Plaintiff exerting efforts

to re-file a Complaint at any time in the future.

         3.         At this juncture, this Honorable Court has scheduled an Initial Pre-Trial Conference

to commence at 10:00 a.m. on October 9, 2024. Because the Plaintiff is appearing pro se, the

Defendant believes that the interests of justice shall be best served by allowing for the foregoing

proceeding to occur during which time the Plaintiff’s foregoing effort and the ramifications thereof

may be discussed.

         WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully requests that this

Honorable Court receive and accept this its Notice of Objection to Plaintiff Demarcus Gene

Hubert’s Notice of Voluntary Dismissal Without Prejudice.




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                                                     Respectfully submitted,

                                                     MUNSCH HARDT KOPF & HARR, P.C.,

                                                     By: /s/ Daniel D. Pipitone ______________
                                                     Daniel D. Pipitone
                                                     State Bar No.: 16024600
                                                     700 Milam Street, Suite 800
                                                     Houston, Texas 77002
                                                     Tel: (713) 222-4056
                                                     dpipitone@munsch.com

                                                     ATTORNEYS FOR DEFENDANT
                                                     WILLIAMS BROTHERS
                                                     CONSTRUCTION COMPANY


                                CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing has been served on all parties
by means of ECF on this this 4th day of October, 2024.

VIA E-MAIL – demarcusghubert@gmail.com
Demarcus Gene Hubert
8214 Lawn St.
Houston, Texas 77088


                                                 /s/ Daniel D. Pipitone
                                                 Daniel D. Pipitone




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